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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

PLASMA-THERM LLC,
Plaintiff,
Civil Action No.: 8315-cv-02785-CEH-TBM

V.

MICRO PROCESSING TECHNOLOGY,
INC.,

Defendant.

MICRO PROCESSING TECHNOLOGY,
INC.,

Counter-Plaintiff,
v.
PLASMA-THERM LLC; ON SEMI-
CONDUCTOR CORPORATION;
SEMICONDUCTOR COMPONENT

INDUSTRIES, LLC and GORDON
GRIVNA

Counter-Defendants.

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DEFENDANT’S STIPULATED MOTION FOR SUBSTITUTION OF COUNSEL
The undersigned counsel for Defendant, Micro Processing Technology, Inc.
(“Defendant”) and Defendant, hereby stipulate to and move the Court for the entry of an Order

substituting Thomas H. Stanton, Esquire and the law flrm of Stanton IP Law Firm, P.A., as

 

Esquire, Robert D. Zebro, Esquire, and the law firm of Cope, Zebro & Crawford, P.L. as

counsel of record for MPT, and in support states as follows:

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l. Defendant has retained Thomas H. Stanton, Esquire and the law firm of Stanton
IP Law Firm, P.A., to represent Defendant instead of Defendant’s current counsel, Donald H.
Crawford, II, Esquire, Robert D. Zebro, Esquire, and the law firm of Cope, Zebro & Crawford,
P.L.

2. lt is stipulated that henceforth, all pleadings and correspondence to Defendant
in this matter should be served upon Thomas H. Stanton, Esquire at Stanton IP Law Firm, P.A.
Moreover, Donald H. Crawford II, Esquire and Cope, Zebro & Crawford, P.A. should be
removed from all service lists.

3. The undersigned counsel respectfully request the CouIt enter an Order granting

the Motion for Substitution.

Dated: JQ/z ,§2,/2017

 

 

  

 

 

 

Respectfully Submitted,
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Thomas l-f Mrm,_£*‘§q€ire l)onald H. Crawford, II, Esquire
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this July 24th, 2017, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which Will send a notice of electronic filing
to all counsel of record.

/s/ Thomas H. Stanton

Thomas H. Stanton, Esquire
FBN: 127444

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